
94 N.Y.2d 932 (2000)
In the Matter of CHARLES HAYMAN-CHAFFEY, as Executor of JOHN W. LANDY, Deceased, Respondent,
v.
SONDRA LANDY, Appellant, and FIDELITY INVESTMENTS, Respondent.
Court of Appeals of the State of New York.
Submitted January 24, 2000.
Decided April 4, 2000.
Motion, insofar as it seeks leave to appeal from that portion of the Appellate Division order that affirmed the Surrogate's Court order denying the motion to renew and reargue, dismissed upon the ground that such portion of the order does not finally determine the proceeding within the meaning of the Constitution; motion for leave to appeal otherwise denied.
